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 1                                                          THE HONORABLE RICHARD A. JONES

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 5

 6                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 7
                                        AT SEATTLE
 8

 9    EQUAL EMPLOYMENT OPPORTUNITY                      CIVIL ACTION NO.
      COMMISSION,                                       2:20−cv−01369−RAJ−BAT
10
                       Plaintiff,
11                                                      PLAINTIFF EEOC JOINS IN PLAINTIFF-
             and,                                       INTERVENORS’ OPPOSITION TO
12                                                      DEFENDANTS’ MOTION TO MODIFY
      MARIA CRUZ CONTRERAS and SOFIA                    CASE SCHEDULE ORDER WITH
13    VERA RODRIGUEZ,                                   RESPECT TO DISPOSITIVE MOTIONS
                                                        DEADLINE
14                     Plaintiff-Intervenors,

15           v.

16    GIPHX10, LLC d/b/a "HAWTHORN
17
      SUITES BY WYNDHAM," and
      JAFFER, INC.,
18
                       Defendants.
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20
            Plaintiff EEOC hereby joins in Plaintiff-Intervenors’ Opposition to Defendants’ Motion
21
     to Modify Case Schedule Order with Respect to Dispositive Motions Deadline [Dkt # 51], filed
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     on May 25, 2022. For the reasons set forth in greater detail in Plaintiff-Intervenors' Opposition
23
     [Dkt #51] and the Declaration of Sean M. Phelan in support thereof [Dkt. #52], Defendants have
24
     not provided any evidence of good cause as required by Fed. R. Civ. P. 16(b) to modify the
25
     deadline for dispositive motions and this Court should deny Defendants’ motion to Amend the
26   Pretrial Order with respect to the deadline for dispositive motions and Daubert motions. To be
      PLAINTIFF EEOC JOINS IN PLAINTIFF-INTERVENORS’                  EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                 909 FIRST AVE., SUITE 400
      OPPOSITION TO DEFENDANTS’ MOTION TO MODIFY CASE                           SEATTLE, WASHINGTON 98104
      SCHEDULE ORDER WITH RESPECT TO DISPOSITIVE                                   PHONE (206) 220-6884
                                                                                    FAX (206) 220-6911
      MOTIONS DEADLINE                                                              TDD (206) 220-6882
      EEOC et al v. GIPHX10, LLC d/b/a "Hawthorn Suites by Wyndham"
      et al
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 1   clear, the EEOC agrees that this Court should grant the agreed motion to extend the mediation

 2   deadline to June 10, 2022.

 3          Respectfully submitted this 25th day of May 2022.

 4
      ROBERTA STEELE                                    CHRISTOPHER LAGE
 5
      Regional Attorney                                 Deputy General Counsel
 6
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     BY: /s/ Carmen Flores
11   Carmen Flores
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                                        Attorneys for Plaintiff EEOC
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      PLAINTIFF EEOC JOINS IN PLAINTIFF-INTERVENORS’                   EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
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      SCHEDULE ORDER WITH RESPECT TO DISPOSITIVE                                    PHONE (206) 220-6884
                                                                                     FAX (206) 220-6911
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      EEOC et al v. GIPHX10, LLC d/b/a "Hawthorn Suites by Wyndham"
      et al
      2:20−cv−01369−RAJ−BAT - Page 2
            Case 2:20-cv-01369-RAJ-BAT Document 53 Filed 05/25/22 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE

 2
            I hereby certify that on this date, I electronically filed the foregoing with the Clerk of the
 3
     Court using the CM/ECF system.
 4

 5

 6                  DATED this 25th day of May 2022

 7
                                            /s/ Rebecca Eaton
                                            REBECCA EATON
 8                                          Paralegal Specialist
                                            Equal Employment Opportunity Commission
 9                                          909 First Ave., Suite 400
                                            Seattle, Washington 98104
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                                            Telephone: 206-576-3028
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      PLAINTIFF EEOC JOINS IN PLAINTIFF-INTERVENORS’                   EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                  909 FIRST AVE., SUITE 400
      OPPOSITION TO DEFENDANTS’ MOTION TO MODIFY CASE                            SEATTLE, WASHINGTON 98104
      SCHEDULE ORDER WITH RESPECT TO DISPOSITIVE                                    PHONE (206) 220-6884
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